                                          IN THE UNITED STATES DISTRICT COURT
                                     FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                                                  CHARLOTTE DIVISION
                                      CRIMINAL ACTION NO. 3:16-MJ-308-DCK *SEALED*

                  UNITED STATES OF AMERICA,                              )
                                                                         )
                                     Plaintiff,                          )
                                                                         )
                       v.                                                )      ORDER
                                                                         )
                  AHMIA MONICE FEASTER,                                  )
                                                                         )
                                     Defendant.                          )
                                                                         )

                            THIS MATTER IS BEFORE THE COURT on the “Motion To Dismiss The Complaint”

                (Document No. 6) filed November 4, 2016. Leave of Court is hereby granted for the dismissal of

                the criminal complaint (as it related to [2] AHMIA MONICE FEASTER only) in the above-

                captioned case without prejudice.

                            IT IS, THEREFORE, ORDERED that the “Motion To Dismiss The Complaint”

                (Document No. 6) is GRANTED.

                            The Clerk is directed to certify copies of this Order to the U.S. Probation Office, U.S.

                Marshals Service, and the United States Attorney’s Office.



Signed: November 4, 2016




SEALED DOCUMENT with access to Specified Parties/Plaintiff.




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